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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

GODO KAISHA IP BRIDGE 1,                          §
                                                  §
                Plaintiff,                        §
                                                  §
v.                                                §   CIVIL ACTION NO.           2:21-CV-00213-JRG
                                                  §   (LEAD CASE)
TELEFONAKTIEBOLAGET LM                            §
ERICSSON, ERICSSON, INC.,                         §
                                                  §
                Defendants.                       §
                                                  §
v.                                                §   CIVIL ACTION NO.           2:21-CV-00215-JRG
                                                  §   (MEMBER CASE)
NOKIA CORPORATION, NOKIA                          §
SOLUTIONS AND NETWORK OY,                         §
NOKIA OF AMERICA CORPORATION,                     §
                                                  §
                Defendants.                       §
                                                  §

                                             ORDER

       Before the Court is Plaintiff Godo Kaisha IP Bridge 1 (“IP Bridge”) and Defendants

Telefonaktiebolaget LM Ericsson and Ericsson Inc.’s (together, “Ericsson”) Joint Notice

Regarding Meditation (the “Notice”). (Dkt. No. 143). In the Notice, IP Bridge and Ericsson jointly

agree that this case would benefit from mediation before the Honorable Gerald E. Rosen. (Id.).

       Having considered the Notice, the Court agrees that IP Bridge and Ericsson (together, the

“parties”) might benefit from efforts to resolve their disputes via mediation. Accordingly, the Court

ORDERS the parties to mediate in this case promptly and at a mutually agreeable date. The parties

are directed to contact the mediator forthwith and use their best efforts to schedule a date for

mediation at the earliest reasonable time. The mediation shall be conducted by the Hon. Gerald E.

Rosen, 150 West Jefferson, Suite 850, Detroit, Michigan 48226, T: 313-209-8861,
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F: 313-872-1101. To ensure that mediation is as productive as possible, the Court hereby

ORDERS that IP Bridge and Ericsson shall personally attend such mediation with lead counsel,

local counsel, and a representative who has full and unilateral authority to act on and compromise
    . pending disputes. No party or representative shall leave the mediation session, once it begins,
on all

without the approval of the mediator. The district’s applicable local rules regarding

ADR/mediation shall otherwise govern and apply in all respects.

       Further, the parties are ORDERED to file a joint notice within three (3) days of their

mediation informing the Court of the results of such mediation and (if mediation was not

completely successful) advising the Court of any remaining outstanding disputes.


      So ORDERED and SIGNED this 29th day of June, 2022.




                                                          ____________________________________
                                                          RODNEY GILSTRAP
                                                          UNITED STATES DISTRICT JUDGE




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